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                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF COLORADO

 IN RE:                                        )
                                               )              Case No. 23-10808-JGR
 NORTH SHORE ASSOCIATES, LLP                   )
 EIN:                                          )              Chapter 11
                                               )
 Debtor.                                       )


                 SECOND STATUS REPORT REGARDING ARBITRATION

          The Debtor, North Shore Associates, LLP (“Debtor”), by and through its attorneys, Kutner
 Brinen Dickey Riley, P.C., states its Second Status Report Regarding the Arbitration initiated by
 J. Robert Wilson as follows:
          1.     Pursuant to this Court’s Order on July 21, 2023, the Debtor’s case is being held in
 abeyance pending a determination of the arbitration initiated by J. Robert Wilson.
          2.     The arbitration was commenced on September 19, 2023 with the American
 Arbitration Association (“AAA”). The partners have responded to the Arbitration Complaint.
          3.     No trial, hearing, or other proceeding to adjudicate the merits of the arbitration
 demand has been held in the arbitration proceeding.
          4.     No other judgment, determination or other decision has been issued in the
 arbitration and the arbitration remains pending.
          5.     The Debtor continues to receive rent from its tenant, North Shore Manor, Inc.


 Dated: January 18, 2024                       Respectfully submitted,

                                               By:     /s/ Keri L. Riley
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